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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                             )
 COMMITTEE ON WAYS & MEANS,                  )
  UNITED STATES HOUSE OF                     )
  REPRESENTATIVES,                           )
                                             )
               Plaintiff, Counter-Defendant, )
                                             )
                v.                           )
                                             )
 UNITED STATES DEPARTMENT                    )
  OF THE TREASURY, et. al.,                  )   No. 1:19-cv-1974 (TNM)
                                             )
               Defendants, Cross-Defendants, )
                                             )
                v.                           )
                                             )
 DONALD J. TRUMP, et al.,                    )
                                             )
               Intervenor-Defendants,        )
               Counter-Claimants, Cross- )
               Claimants.                    )
                                             )

                MEMORANDUM OF POINTS AND AUTHORITIES
           IN SUPPORT OF CROSS-DEFENDANTS’ MOTION TO DISMISS

Date: September 9, 2021

       BRIAN D. NETTER                             SERENA M. ORLOFF
       Deputy Assistant Attorney General           Trial Attorney

       JOHN R. GRIFFITHS                           STEVEN A. MYERS
       Director                                    Senior Trial Counsel

       ELIZABETH J. SHAPIRO                        CRISTEN C. HANDLEY
       Deputy Director                             Trial Attorney

       JAMES J. GILLIGAN                           JULIA A. HEIMAN
       Special Litigation Counsel                  Senior Counsel

                                                   U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   P.O. Box 883
                                                   Washington, D.C. 20044
                                                   Telephone: (202) 514-3358
                                                   E-mail: james.gilligan@usdoj.gov

                                                   Counsel for Defendants, Cross-Defendants
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*The authorities upon which we chiefly rely are marked with asterisks.




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                                         INTRODUCTION
        In June 2021, the Chairman of the House Committee on Ways and Means (“the Committee”)

invoked 26 U.S.C. § 6103(f)(1) to solicit from the Department of the Treasury (“Treasury”) certain

tax returns and return information pertaining to former President Donald Trump and eight associated

business entities (collectively, the “Trump parties”). Treasury sought the advice of the Department

of Justice’s Office of Legal Counsel (“OLC”), which determined that the request was valid and should

be fulfilled.

        Through a series of cross-claims and counterclaims, the Trump parties seek now to prohibit

Treasury from fulfilling the Committee’s request. The Trump parties’ claims lack legal merit and

should be dismissed.

        First, the Trump parties ask the Court to determine that the Committee’s request is void

because it allegedly lacks a “legitimate legislative purpose.” But “[s]o long as Congress acts in

pursuance of its constitutional power, the Judiciary lacks authority to intervene on the basis of the

motives which spurred the exercise of that power.” Barenblatt v. United States, 360 U.S. 109, 132 (1959).

Here, the operative request spells out in detail the Committee’s interest in legislation relating to the

mandatory audit program for sitting presidents (“Presidential Audit Program”), in presidential

business entanglements and conflicts of interest, and in possible foreign influences on the President.

These subjects are ones “on which legislation could be had,” Eastland v. U.S. Servicemen’s Fund, 421

U.S. 491, 506 (1975), so the Trump parties’ claim necessarily fails.
        Second, the Trump parties challenge the request under Trump v. Mazars USA, LLP, 140 S. Ct.

2019 (2020), which identified considerations bearing on whether a legislative subpoena can be

enforced against the President. But Donald Trump is not the President, so this case does not pose

the “palpable” “clash between rival branches of government” presented in Mazars, 140 S. Ct. at 2034-

35. Here, the Legislature and the Executive Branch agree on the path forward. In any event, the

request poses few, if any, burdens on the Executive Branch and serves an important legislative

function pursuant to a duly enacted statutory authorization. So any inter-branch balancing of interests
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under a Mazars-type analysis counsels against judicial intervention to override the Executive-

Legislative agreement.

        Third, the Trump parties invoke section 6103(f) itself. But section 6103(f) provides no basis

for a claim by a taxpayer whose tax information1 has been requested. Even if it did, the Committee’s

request is plainly consistent with the statutory text; the Trump parties’ request for a statutory

interpretation that accounts for supposed separation-of-powers concerns fails for the same reasons as

their other separation-of-powers theories.

        Fourth, the Trump parties assert a claim under the First Amendment for retaliation. But to

state such a claim, a litigant must adequately allege that his or her protected expression is the “but for”

cause of the alleged retaliatory act. Yet the reason for Defendants’ intended release of the Trump

parties’ tax information to the Committee is the unconditional command of section 6103(f)(1),

regardless of any protected expression by any of the Trump parties or Defendants’ views thereof. So

far as this claim would call on the Court, even for First Amendment reasons, to probe the motives of

individual legislators who support the Committee’s request, it is foreclosed by decades of Supreme

Court precedent. In any event, the Trump parties have not plausibly alleged retaliatory motive on the

part of Defendants or the Committee.

        Fifth, the Trump parties further contend that disclosure of information responsive to the

Committee’s 2021 Request would violate their due process rights, on the theory that congressional
review would somehow taint alleged ongoing audits of the Trump parties’ returns. This claim is

grounded in speculation. If any alleged audits were to result in unfavorable determinations, the

appropriate recourse would be to litigate those determinations. There is also nothing anomalous about

a congressional inquiry that runs parallel to an ongoing administrative proceeding. Thus, even if this

claim were ripe it would fall far short of stating a claim for a violation of the Trump parties’ due-

process rights.

    1
     “Return” and “return information” are defined terms under the Internal Revenue Code and do
not encompass all types of tax information. See 26 U.S.C. § 6103(b)(1)-(2). For ease of reference, and
because this lawsuit does not turn on those definitions, this motion uses the term “tax information”
to mean “returns” and “return information” collectively as defined under the statute.
                                                  2
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        Sixth, the Trump parties assert a freestanding claim based on supposed separation-of-powers

violations.    That claim stems from the assumption—unsupported by factual allegations and

undermined by the Committee’s stated intentions—that the Committee will use the requested

information to interfere with the alleged ongoing IRS audit in a manner that injures the Trump parties.

Such speculative allegations do not amount to a ripe controversy. Additionally, even if this claim were

ripe, it should still be dismissed, as congressional requests for information, including information that

is the subject of an ongoing administrative proceeding such as an alleged IRS audit, do not inherently

violate the separation of powers. In this case, the Executive Branch has properly determined that the

Committee has asserted valid legislative purposes and its request comports with the considerations

identified in Mazars. Thus, the Committee’s request a fortiori does not amount to a separation-of-

powers violation.

                                          BACKGROUND
I. STATUTORY BACKGROUND

        A.        History of Section 6103 of the Tax Code

        Since the late 1800s, Congress has endeavored to balance the privacy interests of federal

taxpayers with its own needs, and the needs of other government actors, for access to tax information.

See George K. Yin, Preventing Congressional Violations of Taxpayer Privacy, 69 Tax Lawyer 103, 105,

119-136       (2015),   https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2628193           (hereinafter
“Taxpayer Privacy”). Immediately following the enactment of the first personal income tax in 1862,

the tax laws permitted unrestricted public access to individual taxpayer returns—a system that drew

criticism for invading privacy rights and discouraging voluntary tax reporting. Id. at 154. Accordingly,

in 1894, Congress made it a misdemeanor to disclose certain tax information outside of the tax agency,

id. at 119, and in 1921 tightened that protection to permit inspection of tax information “only by order

of the President under rules prescribed by the Treasury Secretary,” id. (citation omitted).

        Following the Coolidge Administration’s refusal to furnish the tax records of officials

suspected of involvement in the Teapot Dome scandal, Congress adjusted this framework to provide

                                                   3
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a direct right of access to tax information for certain congressional committees. See id. at 120-24. The

Revenue Act of 1924 provided that the Ways and Means Committee, the Senate Finance Committee,

“or a special committee of the Senate or House, shall have the right to call on the Secretary of the

Treasury for, and it shall be his duty to furnish, any data of any character contained in or shown by

[tax] returns . . . that may be required by the committee[.]” Pub. L. No. 68-176, § 257(a), 43 Stat. 253,

293 (1924). Congress amended this provision two years later, first to limit this right of access by

nontax committees to “joint” and “select” committees “specially authorized to investigate returns by

a resolution” of the Senate and/or House, and second, to require any committee invoking this access

to sit in executive session to receive tax information. See Taxpayer Privacy, 69 Tax Lawyer at 126.

The Internal Revenue Code of 1954, ch. 736, § 6013(d)(1), (2), 68A Stat. 1, 754-55, re-enacted these

provisions in the precursor to the current section 6103(f).

        In 1976, Congress tightened the disclosure rules again amidst “publicity regarding possible

misuse of tax information” by the Nixon Administration. Joint Committee on Taxation, Background

Regarding the Confidentiality and Disclosure of Federal Tax Returns (“JCT Report”) at 6 (Feb. 4, 2019),

https://www.jct.gov/publications.html?func=startdown&id=5159; see also S. Rep. No. 94-938, pt. 1,

at 19, 317-18 (1976). Whereas tax returns had previously been deemed “public records,” the 1976 Act

removed that designation and provided expressly that tax returns (and return information) “shall be

confidential.” Pub. L. No. 94-455 § 1202, 90 Stat. 1520, 1667 (1976), codified at 26 U.S.C. § 6103(a).
Government officials with access to tax information therefore may not disseminate it without

authorization.   Congress also codified the thirteen regulatory exceptions to nondisclosure and

removed the ability of the Secretary or the President to create new ones. See Taxpayer Privacy, 69 Tax

Lawyer at 131. In so doing, Congress sought to balance the citizen’s right to privacy with “the

particular office or agency’s need for the information involved,” Joint Committee on Taxation, General

Explanation of the Tax Reform Act of 1976, JCS-33-76, at 315 (1976), including the needs of Congress,

“particularly its tax-writing committees . . . [for] access in certain instances to returns and return

information in order to carry out its legislative responsibilities[.]” S. Rep. No. 94-938, pt. 1 at 320.

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The 1976 Act also tightened the procedural requirements for Congress to obtain and review tax

information, see Congressional Access to Tax Returns Under 26 U.S.C. § 6103(f), 1 Op. O.L.C. 85, 89 (1977),

but otherwise did not disrupt the longstanding practice of according the tax committees mandatory

access to tax information upon request.

        B.      The Current Framework

        The general framework established in 1976 persists today. Section 6103 provides that “tax

returns” and “return information” “shall be confidential and, except as authorized by [the Internal

Revenue Code] . . . no officer or employee of the United States . . . shall disclose any return or return

information obtained by him in any manner[.]”            26 U.S.C. § 6103(a).     “Return” and “return

information” are defined broadly to encompass information maintained by the IRS relating to tax

reporting, liabilities, and administration.    Id. § 6103(b)(1)-(2); see also supra note 1.      A willful

unauthorized disclosure of tax information is a felony, id. § 7213(a)(1)-(2), and a taxpayer whose

information has been subject to unauthorized inspection or disclosure may, under certain

circumstances, seek damages, id. § 7431.

        Section 6103 sets forth “thirteen tightly drawn categories of exceptions” to the confidentiality

of tax information, Elec. Privacy Info. Ctr. v. IRS, 910 F.3d 1232, 1237 (D.C. Cir. 2018); see 26 U.S.C.

§ 6103(c)–(o), pursuant to which the Secretary and the IRS Commissioner act as the “gatekeepers of

federal tax information.” Tax Analysts v. IRS, 117 F.3d 607, 613 (D.C. Cir. 1997). The exception for
disclosure to congressional tax committees set forth in section 6103(f)(1) is the exception at issue in

this lawsuit.   As relevant here, paragraph (f)(1) provides that, upon written request from the

Committee on Ways and Means of the House of Representatives, the Committee on Finance of the

Senate, or the Joint Committee on Taxation (collectively, the “tax committees”), the Secretary “shall

furnish” such committee with any specified tax information, except that, absent consent of the

taxpayer, any such information “which can be associated with . . . a particular taxpayer shall be

furnished to such committee only when sitting in closed executive session.” 26 U.S.C. § 6103(f)(1).

Tax information so obtained by one of the tax committees, including information associated with

                                                    5
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individual taxpayers, may be submitted to the Senate, the House, or both. Id. § 6103(f)(4)(A); compare

id. § 6103(f)(4)(B). Nontax committees continue to enjoy only much more limited rights of access,

requiring authorization by resolution of the House and/or Senate. Id. § 6103(f)(3).

II. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        A.      The Committee’s 2019 Request for the Trump Parties’ Tax Information
        As alleged by the Trump parties,2 during the 2016 presidential election campaign, then-

candidate Donald J. Trump declined to release his tax returns publicly, citing allegedly ongoing IRS

audits. Cross-Claim ¶ 1. That choice, which broke a decades-long practice among major-party

nominees, prompted questions that the undisclosed returns might reveal “a Russia connection,”

foreign government entanglements, and Emoluments Clause violations. Id. ¶ 4.

        Following the 2018 mid-term elections, Representative Richard E. Neal became Chairman of

the Committee. In an April 3, 2019, letter to the IRS, Chairman Neal, formally invoking 26 U.S.C.

§ 6103(f)(1), requested that the IRS produce President Trump’s individual tax returns and the returns

for eight associated business entities for the tax years 2013-2018, together with the administrative files

associated with each return (the Committee’s “2019 Request”). Cross-Claim ¶ 12; see Congressional

Committee’s Request for the President’s Tax Returns Under 26 U.S.C. § 6103(f) (“2019 OLC Op.”),

43 O.L.C. Op. __, at *12-13, https://www.justice.gov/olc/opinion/congressional-committee-s-

request-president-s-tax-returns-under-26-usc-6103f. Chairman Neal explained that the information
requested was necessary to “determin[e] the extent to which the IRS audits and enforces the Federal

tax laws against a president.” Cross-Claim ¶ 12.

        On May 6, 2019, after consulting with OLC, the Secretary of the Treasury denied the

Committee’s 2019 Request. Cross-Claim ¶ 15; 2019 OLC Op. at 14. In a letter to Chairman Neal,

the Secretary explained (in the Trump parties’ words), that Defendants “could not comply with the


    2
      Except as otherwise noted, the factual background presented here is based on the facts as alleged
in the Trump parties’ Answer and Counterclaims/Cross-Claims, ¶¶ 1-55, ECF No. 113 (“Cross-
Claim”) at 13-36. Defendants reserve the right, however, to contest the Trump parties’ allegations,
and/or their ability to prove their allegations, as may be necessary or appropriate in further
proceedings.
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Committee’s request” because “[a]fter compiling and reviewing over 40 pages of Democrats’ public

statements,” the Secretary had “concluded that the Committee’s request lacked a legitimate legislative

purpose,” Cross-Claim ¶ 15, and therefore “section 6103(f) would not authorize disclosure,” 2019

OLC Op. at 14.3

           In a formal opinion published on June 13, 2019, OLC memorialized its advice to Defendants

concerning the 2019 Request. See generally 2019 OLC Op.; see also Cross-Claim ¶¶ 16-17. OLC found

that the Constitution required the Committee to establish “a legitimate legislative purpose in support

of its request for [President Trump’s] tax returns” before their release could be authorized under

section 6103(f); and that the Executive Branch was required both to “examine evidence that may bear

upon the Committee’s true objective,” 2019 OLC Op. at 17, 19, and “determine whether a

congressional request to disclose confidential tax information under section 6103(f) . . . has been made

in furtherance of a legitimate legislative purpose,” id. at 21. Turning to the public record, OLC

concluded that the stated purpose of the 2019 Request—“to consider legislation regarding the IRS’s

practices in auditing presidential tax filings”—was “implausible,” and that the Committee’s true

purpose was “forcing the public disclosure of [President Trump’s] tax returns,” id. at 26, 29-30.

“Given that Congress may not pursue public disclosure for its own sake,” OLC concluded that the

2019 Request lacked a legitimate legislative purpose, that it “did not qualify,” accordingly, “for the

statutory exception to taxpayer confidentiality” under section 6103(f)(1), and that “section 6103(a)
therefore required [Defendants] to maintain confidentiality of the requested tax information.” Id. at

17, 31.4




    3
      Four days later, on May 10, 2019, Chairman Neal served subpoenas on the Secretary and the
Commissioner of the IRS for largely the same information requested in the Committee’s 2019
Request. On May 17, 2019, Defendants declined to produce the records sought by the Committee.
See 2019 OLC Op. at 14-15.
    4
      According to the Trump parties, OLC found that the Committee’s specific purpose in seeking
to expose the “private tax information” of President Trump was “political gain.” Cross-Claim ¶ 83.
OLC made no such finding. See generally 2019 OLC Op.
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        B.      The Committee’s Suit Against Defendants

        The Committee initiated this action on July 2, 2019, seeking declaratory and injunctive relief

to compel Defendants’ compliance with the Committee’s 2019 Request (and related subpoenas).

Compl. for Decl. & Inj. Relief ¶¶ 1, 9 (ECF No. 1); id. at 48 (Prayer for Relief). The Committee alleged

that it was “investigating the IRS’s administration of various tax laws and policies relating to

Presidential tax returns and tax law compliance by President Trump, including whether the IRS’s self-

imposed policy of annually auditing the returns of sitting Presidents is working properly[.]” Id. ¶ 4.

“Without reviewing the requested return materials,” the Committee maintained, it “[could] not ensure

that the IRS’s audit process is functioning fairly and effectively, understand how provisions of the tax

code are implicated by President Trump’s returns, or exercise its legislative judgment to determine

whether changes to the code may be warranted.” Id. ¶ 6. To redress this deprivation of information

necessary to the completion of its investigation, and the performance of its “most basic constitutional

functions,” the Committee requested an order directing Defendants “to comply with Section 6103(f)

and [its] subpoenas by producing the requested information immediately.” Id. ¶ 9.

        On July 17, 2019, the Trump parties moved “to intervene as defendants and oppose the

Committee’s suit,” Unopposed Motion To Intervene [etc.] at 1 (ECF No. 12), in order to protect their

interest “in preventing the disclosure of their confidential tax information,” id. at 2-4. The Court

granted the motion the following day. Order (ECF No. 14). On September 6, 2019, Defendants and
the Trump parties jointly moved to dismiss the Committee’s complaint, on the grounds that the

Committee’s informational dispute with the Executive Branch did not present an Article III case or

controversy, that the Court lacked statutory subject-matter jurisdiction, that the Committee lacked a

cause of action, and that the Committee had failed to state claims on which relief could be granted.

See generally Mem. of Pt. & Auths. in Supp. of Defs.’ & Def-Intervenors’ Mot. To Dismiss (ECF No.

44).5


    5
      By this time, the Committee had already moved for summary judgment on the merits of its
claims, see generally Mem. of Law in Supp. of Pl.’s Mot. for Summ. J. (ECF No. 29-2). On August 29,
2019, the Court denied the Committee’s motion, without prejudice, pending resolution of the
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        Following briefing and argument on Defendants’ and the Trump parties’ motion, the Court

stayed this action pending a ruling in Committee on the Judiciary, United States House of Representatives v.

McGahn, No. 1:19-cv-5331 (D.C. Cir.), which presented many of the same jurisdictional and other

threshold issues raised by Defendants and the Trump parties in support of dismissal. Tr. of Tel. Conf.

(Jan. 14, 2020) at 3, 10-11 (ECF No. 78); Docket Entry (Jan. 14, 2020) (“Case stayed”). When the

McGahn panel ruled that Article III forbids federal courts from resolving inter-branch informational

disputes, and the D.C. Circuit granted rehearing en banc, the Court again stayed the case, pending

further order. See Order (ECF No. 91).

        C.      The Committee’s 2021 Request for the Trump Parties’ Tax Information

        The case remained stayed through the 2020 election. As the expiration of Donald Trump’s

term as President approached, the Trump parties moved for a status conference on January 19, 2021.

Mot. For Status Conf. at 1-2 (ECF No. 100). At the status conference, the Trump parties sought to

ensure that they could adjudicate their arguments against disclosure before any release of their tax

information to the Committee occurred. Id. at 2-3. As requested, the Court held a status conference

on January 22, 2021, at which it was agreed that the new Administration would be given time to

determine its position on releasing the Trump parties’ tax information to the Committee. In the

meantime, Defendants would be required to provide 72 hours’ notice to the Trump parties’ counsel

before any such release. Tr. of Tel. Status Conf. (Jan. 22, 2021) at 11, 15, 17-18 (ECF No. 104). See
also Mot. for Status Conf. at 2: Minute Order (Jan. 14, 2021). Thereafter, incoming leadership at the

Departments of Justice and the Treasury evaluated Defendants’ position, see Joint Status Reports

(Feb. 3 and Mar. 3, 2021) (ECF Nos. 102, 105), and on March 31, 2021, Defendants and the

Committee informed the Trump parties and the Court that they had begun communications that

might inform Defendants’ position. Joint Status Report (Mar. 31, 2021) (ECF No. 106); see also Joint

Status Reports (Apr. 30, May 28, and July 2, 2021) (ECF Nos. 107-09).



threshold issues to be presented in Defendants’ and the Trump parties’ then forthcoming motion to
dismiss. Mem. & Order (ECF No. 38).
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        On June 16, 2021, Chairman Neal sent correspondence to the Secretary of the Treasury and

the Commissioner of the IRS making a request, pursuant to section 6103(f)(1), for the individual tax

returns of President Trump and the same eight associated business entities named in the 2019 Request,

for the tax years 2015-2020. See Joint Status Report (July 30, 2021) Exh. A at 6-7 (ECF No. 111)

(“2021 Request”). The 2021 Request also seeks the administrative files for each requested return. Id.

        The Committee’s 2021 Request explains that, to ensure the full and fair administration of the

tax laws, the Committee “has been considering legislative proposals and conducting oversight related

to our Federal tax laws, including, but not limited to, the extent to which the IRS audits and enforces

the Federal tax laws against a President.” Id. at 1, 2. In particular, the Committee expressed “serious

concerns” that the IRS’s mandatory Presidential Audit Program, see Internal Revenue Manual (“IRM”)

§ 3.28.3 (2020), may not be “advancing the purpose for which it was created”—thus necessitating

legislation—because many of its provisions are outdated, and disregarded; they do not account for a

President, like President Trump, with hundreds of businesses and inordinately complex returns; and

they do not include explicit safeguards in the event a President interferes with an audit. 2021 Request

at 2.

        The Committee also explained the importance of individual tax information to its inquiry. To

understand how the Presidential Audit Program operates in practice, the Committee seeks information

about the audit of an actual taxpayer to ascertain, among other things, (i) whether IRS agents are
shielded from improper interference by a President or his representatives; (ii) whether agents look at

ongoing audits that predate a President’s term in office; (iii) whether agents review a President’s

underlying business activities, and have access to the necessary books and records to substantiate

amounts on the tax return; and (iv) whether agents have access to the necessary resources to undertake

an exhaustive review of a complex taxpayer. Id. at 3. The Committee also set forth at length the

reasons why it considers President Trump’s tax information, in particular, to be instructive and

“indispensable” to its inquiry. See generally id. at 3-6. For example, the inordinate size and complexity

of his returns, reflecting his control of more than 500 businesses through a revocable trust, make him

                                                   10
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“markedly different from other Presidents” examined under the Presidential Audit Program, and raise

questions such as whether any audits of his returns included review and substantiation of his

underlying domestic and foreign business activities. Id. at 4-5. President Trump’s public criticism of

his treatment by the IRS, both before and during his term in office, also has raised “serious questions”

in the Committee’s mind about the ability of IRS agents “to freely enforce the tax laws against him.”

Id. at 4, 5-6.

         On these grounds the Committee found “ample reason” to question whether the provisions

of the Presidential Audit Program are “sufficiently robust” and can function as intended for a

President whose taxpayer history “is as complex as former President Trump’s.” Id. at 6. “To be sure

that the [Presidential Audit Program] will work for all future President-taxpayers (including those with

similarly complex taxes),” the Committee concluded that it “must see how the program fared under

the exceedingly challenging circumstances presented by former President Trump.” Id.

         In addition to its concerns about the proper functioning of the Presidential Audit Program,

the Committee also observed that “President Trump’s tax returns could reveal hidden business

entanglements raising tax law and other issues, including conflicts of interest, affecting proper

execution of [his] responsibilities,” as well as “foreign financial influences on former President Trump

that could inform relevant congressional legislation.” Id. at 4.

         The day following its receipt of the Committee’s 2021 Request, Treasury wrote to OLC
seeking its legal opinion “as to whether the Secretary must furnish the requested returns and return

information to the Committee.” See Ways and Means Committee’s Request for the Former President’s Tax

Returns and Related Tax Information Pursuant to 26 U.S.C. § 6103(f)(1), 45 Op. O.L.C. ___, at 17 (Joint

Status Report (July 30, 2021) Exh. B (“2021 OLC Op.”). In a formal opinion published on July 30,

2021, OLC found “ample basis to conclude” that the Committee’s 2021 Request “would further the

Committee’s principal stated objective of assessing” the Presidential Audit Program, and that its

“additional stated objectives” for reviewing the Trump parties’ tax information “are also legitimate.”



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Id. at 4. OLC concluded “that Treasury must furnish the information specified” in the Committee’s

2021 Request. Id. at 3, 39.

        The 2021 OLC Opinion first explained how its mode of analysis differed from the 2019

opinion. See id. at 18-26. To give “due weight to Congress’s status as a co-equal branch of government

with legitimate needs for information in order to exercise its constitutional authorities,” the 2021

opinion concluded that the Executive Branch must extend the same presumption of good faith and

regularity to facially valid congressional requests for information that courts extend to the official acts

of the political branches. Id. at 19; see id. at 22-23. Requests under section 6103(f)(1) should be

accorded an even stronger presumption, OLC explained, inasmuch as section 6103(f)(1) embodies a

century-old judgment by both political branches (not merely the determination of a committee of one

house) that the congressional tax committees should have a “statutorily unlimited right of access to

tax information,” and can be relied on to exercise that authority in a deliberate and responsible manner.

Id. at 23-24. Absent “exceptional circumstances” in which “a committee’s asserted purpose truly

blinks reality,” the presumption of good faith and regularity should not be overcome. Id. at 26, 38-

39.    The fact that a committee’s request for information “might serve partisan or other political

interests,” OLC observed, “is generally irrelevant to assessing its constitutionality[.]” Id.

        The 2021 opinion recognized that Trump v. Mazars, 140 S. Ct. 2019 (2021), held that the

deference owed a congressional subpoena “should be tempered” where a committee seeks the private
financial information of a sitting President. 2021 OLC Op. at 27 (citing Mazars, 140 S. Ct. at 2035).

OLC concluded, however, that the separation-of-powers concerns animating the decision in Mazars—

the use of Congress’s investigatory power to exert control over a President—are “mitigate[d]” and

“much less pronounced” in this instance because the Committee’s 2021 Request seeks the tax

information of a former President who has “return[ed] to life as a private citizen.” Id. at 28. OLC

also noted that “the Committee made the June 2021 Request not simply pursuant to a subpoena, but

pursuant to a statute that embodied the considered judgment of the political branches going back



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nearly a century about the access that should be afforded the tax committees,” id., thus further

mitigating the concerns undergirding Mazars.

        Applying this analytical framework to the 2021 Request, OLC concluded that the Committee

had invoked subjects of inquiry on which legislation might be had and “articulated in some detail”

why the Trump parties’ tax information is relevant to informing Congress about them. Id. at 29; see

generally id. at 29-39. In particular, the 2021 OLC Opinion explained why the years covered by the

2021 Request—“well-aligned” with the Committee’s interest in the Presidential Audit Program—and

its detailed explanation of the reasons why President Trump’s tax information is important to

understanding how the Presidential Audit Program “works under conditions of stress,” address

shortcomings that the 2019 OLC Opinion found in the Committee’s 2019 Request. Id. at 31-34.

Additionally, OLC concluded that the Committee’s interests in discovering potential “business

entanglements,” “conflicts of interest,” or “foreign financial influences” that could raise “tax law and

other issues,” are “independently sufficient to justify” the 2021 Request. Id. at 34-37. In light of its

facial validity, the possibility that some members of Congress might hope to embarrass President

Trump or profit politically from the exposure of his tax information “would not serve to invalidate

the Committee’s request.” Id. at 38-39. Based on these conclusions, OLC advised Treasury “that the

Secretary must comply” with the Committee’s 2021 Request in accordance with section 6103(f)(1),

and “furnish the Committee with the specified tax returns and return information.” Id. at 39.
        D.      The Trump Parties’ Claims Against Defendants and the Committee

        On July 30, 2021, concurrent with the publication of the 2021 OLC Opinion, Defendants

informed the Court, the Committee, and the Trump parties that Treasury intends to comply with the

Committee’s 2021 Request, in accordance with the conclusions reached by OLC. Joint Status Report

(July 30, 2021) at 2.6 In light of this representation, on August 4, 2021, the Committee filed a motion

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       Defendants further advised they would forbear from producing the requested tax information
to the Committee “pending a suitable schedule for expedited submission, briefing, and resolution by
[the] Court of any claims the Defendant-Intervenors wish to raise.” Joint Status Report (July 30, 2021)
at 3. The Court issued a Minute Order, also on July 30, 2021, directing that “[p]ending resolution of
those proceedings, and in light of the Administration’s agreement, Defendants shall provide 72 hours’
notice to counsel for the [Trump parties] before any release of the tax return information at issue.”
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for voluntary dismissal of its claims against Defendants, which the Court granted. Mot. for Voluntary

Dismissal Without Prejudice (ECF No. 115); Minute Order (Aug. 5, 2021). The same day the Trump

parties filed counterclaims and cross-claims, respectively, against the Committee and Defendants,

seeking declaratory and injunctive relief against the disclosure of their tax information. Answer and

Counterclaims/Cross-Claims (“Cross-Claim”) (ECF No. 113).

        The Trump parties raise six claims, on the basis of which they maintain that the release of their

tax information to the Committee should be prohibited. The first two claims, raised against

Defendants and the Committee, assert that the 2021 Request for production of the Trump parties’ tax

information “lack[s] a legitimate legislative purpose,” Cross-Claim ¶¶ 56-65, and that it “fail[s]” the

“heightened standard” for congressional informational requests “that implicate the separation of

powers” articulated in Mazars, id. ¶¶ 66-71. The remaining four claims, brought against Defendants

only, assert that section 6103(f)(1) “does not . . . authorize the Committee[ ] . . . to request the returns

or return information of a President or former President,” id. ¶¶ 72-77; that the Committee’s request,

and Defendants’ intended compliance therewith, constitute unlawful retaliation in violation of the

First Amendment; id. ¶¶ 78-88; and that submission of the Trump parties’ tax information to the

Committee while they allegedly remain under audit violates both their due-process rights; id. ¶¶ 89-95;

and the separation of powers, id. ¶¶ 96-102. None of these claims has merit.

                                             ARGUMENT7

I. CROSS-CLAIM I FAILS BECAUSE THE COMMITTEE’S LEGISLATIVE PURPOSE
   IS VALID ON ITS FACE.
        In Cross-Claim I, the Trump parties assert that the 2021 Request lacks a “legitimate legislative

purpose” because the “primary purpose of the request[] is to obtain and expose [the Trump parties’

tax] information for the sake of exposure, to improperly conduct law enforcement, or some other

impermissible goal—not to study federal legislation.” Cross-Claim ¶ 64. As the Mazars district court

observed on remand from the Supreme Court, “no court has accepted” this theory, also advanced by


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      Defendants incorporate by reference the legal standards section included in the Committee’s
separate motion to dismiss.
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President Trump in that case. Trump v. Mazars, 2021 WL 3602683, at *9 (D.D.C. Aug. 11, 2021), appeal

filed, Nos. 21-5176 & 21-5177 (D.C. Cir. Aug. 16, 2021) (Mazars II). It fails here as well.

        A.      Congress’s Power of Inquiry and the “Legitimate Legislative Purpose”
                Requirement
        The Supreme Court has long recognized that the “power of inquiry” is “an essential and

appropriate auxiliary to the legislative function.” Mazars, 140 S. Ct. at 2031 (citing McGrain v. Daugherty,

273 U.S. 135, 174 (1927)); see also Eastland, 421 U.S. at 504 (“the power to investigate is inherent in the

power to make laws”). This power belongs to each of the two houses of Congress independently, see

McGrain, 273 U.S. at 173, and is rooted in the understanding that a “legislative body cannot legislate

wisely or effectively in the absence of information respecting the conditions which the legislation is

intended to affect or change[.]” Id. at 175. The power encompasses, among other things, “inquiries

into the administration of existing laws, studies of proposed laws, and ‘surveys of defects in our social,

economic or political system for the purpose of enabling the Congress to remedy them.’” Mazars, 140

S. Ct. at 2031 (citing Watkins v. United States, 354 U.S. 178, 187 (1957)); see also Scope of Congressional

Oversight and Investigative Power With Respect to the Executive Branch, 9 Op. O.L.C. 60, 60 (1985)

(it is “beyond dispute” that Congress may obtain information “pertinent to possible legislation and in

order to evaluate the effectiveness of current laws”).

        The congressional power of inquiry is “broad,” but it is not unlimited. Mazars, 140 S. Ct. at

2031. Its exercise must serve a “valid legislative purpose” in that it must be “related to, and in
furtherance of, a legitimate task of Congress” and “concern a subject on which legislation could be

had.” Id. The power may not be used for non-legislative purposes, such as for “law enforcement” or

to “try someone before a committee for any crime or wrongdoing.” Id. at 2032. Also, Congress “has

no general power to inquire into private affairs” or “compel disclosures” simply to “expose for the

sake of exposure.” Id. Nevertheless, while an inquiry into private matters must be “justif[ied] in terms

of the functions of the Congress,” Watkins, 354 U.S. at 187, the mere fact that an inquiry might call

for information that is private or confidential does not render it illegitimate. See, e.g., id. at 199 (noting
that an inquiry is not barred simply because it “compel[s] disclosure of private matters”); FTC v. Owens-
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Corning Fiberglas Corp., 626 F.2d 966, 970 (D.C. Cir. 1980) (enforcing congressional request for

information that constituted trade secrets); Townsend v. United States, 95 F.2d 352, 361 (D.C. Cir. 1938)

(the fact that the subject of a congressional inquiry might feel “embarrassed” by inquiries “which to

him seemed incompetent, irrelevant” or even “impertinent” is generally immaterial). And, in assessing

the legitimacy of a legislative purpose, courts generally afford Congress “every reasonable indulgence

of legality.” Watkins, 354 U.S. at 204; see also Barry v. United States ex rel. Cunningham, 279 U.S. 597, 619

(1929) (“the proceedings of the houses of Congress, when acting upon matters within their

constitutional authority” are entitled to a “presumption in favor of regularity”).

        B.      The Committee’s Stated Legislative Purpose Is Legitimate

        Here, the Executive Branch applied these principles to determine that the subjects the

Committee invoked in seeking the requested tax information are ones upon which legislation might

be had; that the information requested is relevant to informing Congress about them; that the

Committee has been authorized to seek that information; and that there is no basis for looking behind

the Committee’s stated objectives. 2021 OLC Op. at 20. These conclusions are correct as a matter

of law, and the Trump parties’ allegations do not plausibly suggest otherwise.

        The 2021 Request sets forth the Committee’s legislative purpose in detail. In it, Chairman

Neal explained that the Committee is charged with oversight of the tax laws and tax administration,

and that the Committee is “considering legislative proposals and conducting oversight related to our
Federal tax laws,” including “the extent to which the IRS audits and enforces the Federal tax laws

against a President.” 2021 Request at 1. He noted that concerns on this topic date back to 1974,

when “it became known publicly that the IRS did not properly examine President Nixon’s returns.”

Id. at 1-2. And, although the IRS responded to that event by implementing the Presidential Audit

Program, the Committee is concerned that the Program may not be ensuring the “full and fair

administration of the tax laws with respect to a President,” and therefore that legislation may be

needed. Id. at 2. Specifically, the Committee believes that the IRM does not account for a President

who, like former President Trump, “had ongoing audits, hundreds of business entities, and

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inordinately complex returns.” Id. Further, many “of the relevant IRM provisions are outdated and

no longer followed,” and “[t]he IRM grants an IRS revenue agent substantial discretion to shape the

course of the President’s audit” without “explicit safeguards in the event that a President interferes

with or questions the appropriateness of such examination[.]” Id. The 2021 Request explains that, in

light of these circumstances, the Committee is considering legislation “on the President’s tax

compliance[] and public accountability” to ensure that the IRS “treat[s] a President like any other

taxpayer subject to an audit.” Id.

        As the 2021 OLC Opinion concluded, “[t]hese matters, and the [Presidential Audit Program]

more generally, clearly are subjects on which ‘legislation may be had.’” 2021 OLC Op. at 31 (quoting

Eastland, 421 U.S. at 506). Congress “has the authority ‘[t]o lay and collect Taxes,’ and the tax laws

and the IRS are themselves creations of statutes.” Id. (quoting U.S. Const. art. I, § 8, cl.1). “Congress

also has expansive authority to enact ‘all Laws which shall be necessary and proper for carrying into

Execution’ its constitutional authorities, and accordingly, to determine how the IRS should use

appropriated funds to audit presidential tax returns.” Id. (citing U.S. Const. art. I, § 8, cls. 1 & 18 &

§ 9, cl. 7). The legislative purpose expressed in the 2021 Request is therefore valid on its face. See id.

at 20-21; see also 2019 OLC Op. at 27 (“a review by the Committee of the IRS’s performance of its

duties” is “an example of routine oversight” by Congress).

        The 2021 Request is also valid on the separate and independent grounds stated therein, that
the Committee is investigating potential “business entanglements raising tax law and other issues,

including conflicts of interest” and “foreign financial influences on former President Trump that could

inform relevant congressional legislation.” 2021 Request at 4. Just as with the Committee’s interest

in presidential audits, an investigation into possible presidential conflicts of interest and foreign

influence involves “subject[s] on which legislation could be had.” Eastland, 421 U.S. at 506; see also

2021 OLC Op. at 23 (concluding the same). The Committee might, for example, propose “legislation

to require more extensive or regular financial or tax-return disclosure by presidents and presidential

candidates,” 2021 OLC Op. at 34, which would fall within the Committee’s jurisdiction over “all

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matters relating to” tax returns. H.R. Rules, 117th Cong., Rule X, cl. 1(t)(3) (Feb. 2, 2021). Indeed,

such legislation has been introduced in the House, see H.R. 347, 117th Cong. (introduced Jan. 19,

2021), and the House has also passed a version of similar legislation, which is currently pending before

the Senate, see H.R. 1, 117th Cong., § 10001, but could still undergo further revisions in the House

pending action in the Senate.8 The Committee’s concerns regarding potential hidden business

entanglements of the former President, which may give rise to further tax laws or other legislation, are

therefore independently sufficient to justify the request for the former President’s tax records. See

2021 OLC Op. at 23-25. Indeed, the Trump parties do not dispute that potential legislation relating

to the above matters could be had or that consideration of such topics would be a legitimate task of

Congress.

        C.      The Trump Parties’ Claims of Pretext Fail as a Matter of Law

        Instead of contending that the Committee’s stated purposes are insufficient, the Trump parties

argue that they are pretextual, and that in fact, “[t]he primary purpose of the requests is to obtain and

expose [the Trump parties’] information for the sake of exposure, to improperly conduct law

enforcement, or some other impermissible goal[.]” Cross-Claim ¶ 64. To support this assertion, they

rely on statements of certain Democratic members of the House, including now-Chairman Neal, some

dating back as far as the 115th Congress (2017), id. ¶¶ 4-17, as well as inquiries of other governmental

entities into the former President’s finances. But neither these statements, nor the possible motives
of the individual members who made them, nor the motives of other governmental entities engaged

in different investigations, can overcome the validity of the Committee’s stated purposes here.

        In evaluating the legitimacy of a congressional request for information, courts do “not look to

the motives alleged to have prompted it.” Eastland, 421 U.S. at 508 (emphasis added). Nor may courts

“speculate as to the motivations that may have prompted the decision of individual [committee]

members” to support a legislative inquiry. Wilkinson v. United States, 365 U.S. 399, 412 (1961); see also

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       Such concrete legislative plans are not, however, necessary to sustain a legislative inquiry.
Congress generally need not “declare in advance what [it] meditate[s] doing when the investigation [is]
concluded,” McGrain, 273 U.S. at 178 (citation omitted); see also Eastland, 421 U.S. at 509 (“To be a
valid legislative inquiry there need be no predictable end result.”).
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Watkins, 354 U.S. at 200 (“[A] solution to our problem is not to be found in testing the motives of

committee members for [legislative] purpose.”). This is so because even “where a wrong motive or

purpose” might underlie a congressional inquiry, the remedy generally lies “in the people, upon whom

. . . reliance must be placed for the correction of abuses committed in the exercise of a lawful power.’”

Barenblatt, 360 U.S. at 132 (citing Tenney v. Brandhove, 341 U.S. 367, 377-78 (1951)). The Supreme Court

has thus made plain that courts should conclude that a “committee’s investigation has exceeded the

bounds of legislative power” only where that conclusion is “obvious.” Tenney, 341 U.S. at 378. And

“motives alone would not vitiate an investigation which had been instituted by a House of Congress

if that assembly’s legislative purpose is being served.” Watkins, 354 U.S. at 200. This principle—

which “is sounder still ‘[i]n times of political passion’”—reflects the reality that “‘dishonest or

vindictive motives are readily attributed to legislative conduct and as readily believed.’” Mazars II,

2021 WL 3602683, at *10 (citing Tenney, 341 U.S. at 378 (“Courts are not the place for such

controversies.”)). There is thus no authority for probing the Committee’s “real object” through the

decontextualized statements of individual legislators, Cross-Claim ¶ 62.

        But even if motive had any relevance here, the proffered evidence of pretext bears only a

tenuous relationship to the 2021 Request. All of the cited statements of individual House members,

Cross-Claim ¶¶ 4-17, were made during the 115th and 116th Congresses when President Trump was

in office, and none relates to the Request at issue here, which was made in June 2021 after the 117th
Congress convened. Moreover, developments since the cited statements significantly weaken any

possible connection of those statements to the instant case. President Trump has departed office and

news outlets have allegedly obtained and publicized information pertaining to his tax returns, see id.

¶¶ 32-37,9 yet notwithstanding these developments, the Committee retains its legislative interest in the

Presidential Audit Program and other legislative matters to which the Trump parties’ tax information

is relevant. That fact simply underscores the continuity and legitimacy of the stated interest. Even

    9
      See also, e.g., David Leanhardt, 18 Revelations From a Trove of Trump Tax Records (Sept. 27,
2020), https://www.nytimes.com/2020/09/27/us/trump-taxes-takeaways.html (discussing alleged
disclosure to which the cited statements in paragraphs 32-37 appear to relate).

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further afield is the Trump parties’ reliance on the enactment of state laws implicating President

Trump’s tax returns, id. ¶¶ 19-23, and investigations by the District Attorney of New York County

and other congressional committees, see id. ¶¶ 20, 27-28. Other governmental entities may have had

reasons to inquire into, or legislate about, President Trump’s tax filings and finances, but the purposes

motivating those entities have no bearing on the Committee’s unique interests in tax legislation. See

Mazars II, 2021 WL 3602683, at *9-10 (rejecting similar argument that circumstantial evidence

established an improper purpose, even if the court could consider it).

         The Trump parties’ contention that the “primary purpose of the requests is to . . . improperly

conduct law enforcement” fares no better. Cross-Claims ¶ 64. Again, while other governmental

entities may have law enforcement interests in President Trump’s tax filings, the 2021 Request makes

clear that the Committee’s interest is in tax legislation, including legislative safeguards to ensure the

integrity of the Presidential Audit Program and address conflicts of interest. See 2021 Request at 3-4.

And even if that inquiry might uncover past illegality, an “‘interest in past illegality can be wholly

consistent with an intent to enact [valid] remedial legislation.” Mazars II, 2021 WL 3602683, at *10

(citing Trump v. Mazars USA, LLP, 940 F.3d 710, 728 (D.C. Cir. 2019)). On this point, McGrain is on

all fours. There, the lower court had concluded that a congressional inquiry into the Attorney General

was illegitimate because the Senate was “not investigating the Attorney General’s office” but was

“investigating the former Attorney General” himself. McGrain, 273 U.S. at 177. The Supreme Court
held that this ruling “was wrong” because the Senate resolution at issue showed that “the subject to

be investigated was the administration of the Department of Justice,” id., and the fact that any inquiry

“might possibly disclose crime or wrongdoing” was “not a valid objection.” Id. at 180;10 see also

Hutcheson v. United States, 369 U.S. 599, 617-18 (1962) (concluding that a Senate committee’s

investigation into illegal conduct did not vitiate the legitimate purpose of considering remedial federal

legislation). The same conclusion follows here: the Committee is investigating the IRS and the

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      Indeed, the Court reached that conclusion even in the absence of an express statement by the
Senate of its legislative purpose, explaining that “[t]he only legitimate object the Senate could have in
ordering the investigation was to aid it in legislating, and we think . . . the presumption should be
indulged that this was the real object.” McGrain, 273 U.S. at 178.
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functioning of the Federal tax laws, including the Presidential Audit Program, and the fact that the

information at issue might also be the subject of a valid law-enforcement inquiry does not negate the

Committee’s legislative purposes.

II. CROSS-CLAIM II FAILS BECAUSE MAZARS DOES NOT APPLY TO THE
    REQUEST, AND EVEN IT IF DID, ANY REVIEW UNDER MAZARS IS SATISFIED.
        In Cross-Claim II, the Trump parties allege that even if the Request reflects a valid legislative

purpose under the general legal framework set forth in cases such as Watkins and Barenblatt, it does

not comport with the heightened standard of inquiry articulated in Mazars, which governs

congressional requests for the personal information of a President. See Cross-Claims ¶¶ 66-71. This

theory fails as well.

        A.       Mazars Is Inapplicable on Its Terms.
        As an initial matter, the Mazars standard for evaluating congressional requests for an

incumbent President’s personal information does not apply to this lawsuit. The Court in Mazars

articulated four non-exhaustive factors that should be considered when evaluating a subpoena directed

at the personal information of a President: (1) “whether the asserted legislative purpose warrants the

significant step of involving the President and his papers”; (2) whether the scope of information

sought is “reasonably necessary to support Congress’s legislative objective”; (3) whether Congress has

provided sufficiently “detailed and substantial” evidence of its legislative purpose; and (4) “the burdens

imposed” on the Presidency as a result of the subpoena. 140 S. Ct. at 2035-36. But these factors were
rooted in the Court’s assessment that the dispute involved “a clash between rival branches of

government,” which would “unavoidably pit the political branches against one another,” id. at 2034,

and the Court’s concern that two centuries of accommodation among the political branches could “be

transformed” by an approach that afforded too much deference to either branch. Id. at 2035; see also

id. at 2033 (making clear that the factors refer to a request directed at “the President,” who has “an

ongoing institutional relationship” with Congress). By contrast, the Request here concerns the tax

information of a former President as to which there is no conflict between the political branches. See
Mazars II, 2021 WL 3602683, at *13 (because former “President Trump no longer ‘alone composes a
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branch of government,’” the congressional inquiry will not “‘intru[de] into the operation of the Office

of the President’” or “burden ‘the [sitting] President’s time and attention’”); 2021 OLC Op. at 28

(noting that the “2021 Request seeks the tax information, not of a sitting President, but of a former

President,” which “greatly mitigates the Court’s concerns about Congress using its investigatory power

to exert control over the President” or intrude “into the operation of the Office of the President’”

(quoting Mazars, 140 S. Ct. at 2034, 2036 )). Thus, as the district court observed in Mazars II, President

Trump’s departure from office affects the basic “foundation[]” of the Mazars framework and counsels

“reduced judicial scrutiny.” Mazars II, 2021 WL 3602683, at *13.

        To account for this foundational difference, the Mazars II court adopted a less rigorous

“Mazars lite” standard. Under that approach, the first Mazars factor, which would otherwise require

a careful assessment of “the asserted legislative purpose” is less demanding because a legislative inquiry

into the personal affairs of a former President is less “significant” than one targeting the incumbent

President. Thus, the inquiry into whether “other sources could reasonably provide Congress the

[requested] information” need not be as searching as it would with respect to a sitting President. Id.

at *13. “For the same reason, with respect to the second Mazars factor—which requires a court to

‘insist on a subpoena no broader than reasonably necessary to support Congress’s legislative

objectives’—a court need not ‘insist’ on as precise a fit when the subpoena is not directed to a sitting

President.” Id. As to the third Mazars factor—which instructs that a court must be “attentive to the
nature of the evidence offered” to establish a valid legislative purpose, the court remains attentive but

“a less ‘detailed and substantial’ submission to substantiate Congress’s claimed legislative purpose

may suffice given the circumscribed separation of powers concerns at play.” Id. And finally, under

the fourth factor, which examines the burdens imposed on the President by a congressional inquiry,

Mazars, 140 S. Ct. at 2036, the analysis should account for the fact that such burdens are likely to be

“greatly diminished” when the President to whom the inquiry relates no longer occupies the office.

Mazars II, 2021 WL 3602683, at *13.

        Assuming a Mazars-type analysis applies here at all, Defendants concur with the Mazars II

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court’s application of a more permissive standard in light of President Trump’s departure from office.

Defendants also respectfully submit that two additional factors warrant an even less rigorous standard

for evaluating the Committee’s Request. First, unlike the subpoena in Mazars, the Request here was

made pursuant to a statute enacted with bicameralism and presentment, which reflects “the long-

standing judgment of the political branches . . . that the tax committees are best situated to determine

when Congress ought to have access to tax information, notwithstanding the confidentiality rules that

govern in other contexts.” 2021 OLC Op. at 19. Thus, unlike a subpoena—which is typically issued

by a congressional committee acting alone—the Executive Branch participated in the legislative

process that gave rise to section 6103(f). See Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 441 (1977)

(hereinafter Nixon v. GSA) (noting that separation-of-powers concerns were mitigated because “[t]he

Executive Branch became a party to the Act’s regulation when President Ford signed the Act into

law”). Second and relatedly, under the statutory framework established by section 6103(f), Defendants

act as the “gatekeepers of federal tax information.” Tax Analysts, 117 F.3d at 613. The Executive

Branch (through OLC) therefore has had the opportunity to review the 2021 Request and assess any

burdens on the Executive Branch prior to releasing the requested tax information. Cf. Nixon, 433 U.S.

at 443 (finding it “highly relevant” for separation-of-powers purposes that the Executive Branch acted

as custodian of information relating to a President). These factors further diminish any separation-

of-powers concerns and support a more permissive review than Judge Mehta applied in Mazars II.11
           B.   The Request Does Not Violate Mazars

         Even if this Court were to apply some version of a Mazars or “Mazars-lite” analysis, the 2021

Request does not unduly implicate the separate-of-powers concerns reflected in that analysis.



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        Defendants agree with the Committee that it would also be possible to apply the “pragmatic,
flexible” approach adopted by the Supreme Court in Nixon v. GSA, where the Court held that a
separation-of-powers analysis involving former President Nixon should focus “on the extent to which
[the 2021 Request] prevents the Executive Branch from accomplishing its constitutionally assigned
functions” and “whether [any] impact is justified by an overriding need to promote objectives within
the constitutional authority of Congress.” 433 U.S. at 442-43. However, because those inquiries are
subsumed by the four Mazars factors, and (as discussed below) application of that test is satisfied,
Defendants do not believe it is necessary to conduct a separate analysis under Nixon v. GSA.
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        1.      The Committee’s Investigation Warrants the Step of Seeking President Trump’s Tax Returns
        The first factor asks whether the Committee’s asserted legislative purpose warrants the

“significant step” of inquiring into the President’s personal papers. Mazars, 140 S. Ct. at 2035. As

noted above, this “step” is less “significant” than it was in Mazars, because the fact that President

Trump is no longer in office “greatly mitigates [any] concerns about Congress using its investigatory

power to exert control over the President,” 2021 OLC Op. at 28; see also Mazars II, 2021 WL 3602683,

at *13 (“When Congress subpoenas a former President, the step remains ‘significant’ but less so than

when a sitting President is involved.”).

        On the other side of the ledger, the Committee could not review the functioning, capacity,

and resilience of the Presidential Audit Program under the challenges presented by President Trump,

as it seeks to do, without examining tax information that concerns President Trump. Were the

Committee to investigate the returns and audits of individuals who are known to have similarly

complex financial dealings or who are similarly critical of the IRS, but did not serve as president, such

investigation would not reveal the audit process in the same political context that exists where the

taxpayer is the President, and thus would not help the Committee understand “whether IRS agents

have been able to operate free from improper interference” in that context. 2021 Request at 3.

Likewise, examining the audits of other prior Presidents would not provide insights into the

functioning of the Program under the unique stressors posed by the Trump presidency. President

Trump “controlled more than 500 individual business entities” involving both foreign and domestic
activities and has reportedly been in a decade-long battle with the IRS over a $73 million refund since

before he entered office. See 2021 Request at 4. And as President, he repeatedly and publicly expressed

his frustration with the audit process, thus raising concerns within the Committee about whether the

IRS agents involved in his audits were able to operate free from political influence and interference.

See id. at 5-6. Examining the audits of other Presidents whose tax filings were not known to be nearly

as large and complex, and who did not openly disparage the system, would not permit the Committee

to understand how the Program functions “under the exceedingly challenging circumstances
presented by former President Trump.” Id. at 6; see also id. at 3, 5 (explaining that President Trump is
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“markedly different from other Presidents examined under the IRM’s mandatory audit procedures”

and uniquely “implicates many of [the Committee’s] wide-ranging concerns”). For similar reasons, no

other taxpayer’s business dealings implicate potential conflicts of interest or foreign entanglements

affecting the Presidency to the same extent as those of President Trump, and therefore those filings

would not inform the Committee’s consideration of such matters.

       Nor does the Committee’s focus on President Trump suggest that it is improperly using a

President as a “case study” for “generally applicable legislation.” Mazars, 140 S. Ct. at 2036. The

Committee is contemplating legislation that would specifically relate to a President as a taxpayer, not

legislation that is “generally applicable.” Moreover, the Committee is particularly concerned that “IRS

employees in any way involved in a President’s audit are protected in the course of their work and do

not feel intimidated,” and thus seeks to understand not simply how the Presidential Audit Program

works on paper but whether “IRS agents have been able to act objectively” in carrying out the

program. 2021 Request at 2-3. As to that objective, and as discussed above, the unique set of

institutional stressors with which the Committee is concerned are ones that, by all appearances, only

the audit of President Trump has involved. The request is therefore appropriately concerned with the

information of the former President that uniquely implicates the focus of the legislative inquiry. See

2021 OLC Op. at 29 (“[T]he Committee’s interests here are not about ‘general’ topics distinct from

the presidency, but about an auditing program specific to the presidency and oversight concerns
particular to President Trump.”). The Committee’s investigation thus warrants the “step” of seeking

the tax information of the former President, while nevertheless remaining properly focused on how

that information implicates the functioning of the tax laws.

       2.      The Request Is Not Broader than Necessary

       The second Mazars factor—which asks whether a request is “broader than reasonably

necessary to support [the Committee’s] objectives,” Mazars, 140 S. Ct. at 2036—is also satisfied.

       The fact that the Request seeks tax information not only of President Trump but also eight

affiliated business entities is appropriate because the Committee seeks to understand whether, in the

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course of a presidential audit, IRS agents review “underlying business activities, especially activities

involving many interrelated entities and income from . . . foreign sources.” 2021 Request at 3. That

breadth is necessary because President Trump has hundreds of business entities and individual returns

that necessarily incorporated, and were based upon, the tax filings of those business entities. As a

result, examining only President Trump’s individual tax returns, without those of the business interests

that underlie and give substance to the returns, would give the Committee only limited and superficial

insight into the scope of the audit.

        The time frame for the Request—tax years 2015-2020—is also appropriate. Under the IRM,

the Presidential Audit Program applies to returns filed while a President is in office. See 2021 OLC

Op. at 32; IRM § 3.28.3.5(1) (providing instructions for processing returns “of the President and Vice

President of the United States in office at the time of filing” (emphasis added)). For President Trump, who

took office in 2017 and departed in January 2021, that time period would include tax years 2016-2019,

made in 2017-2020, respectively. The Request thus covers the returns that President Trump and his

affiliated business entities presumptively filed during his four years in office, as well as one year on

either side. That one-year cushion is appropriate because the scope of a mandatory presidential audit

“can be expanded to include prior year and related returns if ‘risk protocols’ warrant.” Decl. of Sunita

Lough ¶ 39, ECF No. 44-4; see also 2021 OLC Op. at 32 (noting same). The Committee therefore

could reasonably believe that the IRS’s audit of former President Trump’s returns might involve
examination of returns filed shortly before he took office or after he departed. And even if that

assessment turned out to be factually incorrect, it would not render the scope of the Request

unreasonable because “[t]he very nature of the investigative function—like any research—is that it

takes the searchers up some ‘blind alleys’ and into nonproductive enterprises.” Eastland, 421 U.S. at

509.

        3.      The Committee Has Provided Detailed and Substantial Evidence of Its Purpose

        The third Mazars factor is also satisfied because the 2021 Request provides a detailed

explanation of the Committee’s need for the tax information at issue. See Mazars, 140 S. Ct. at 2036

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(Congress should “adequately identif[y] its aims and explain[ ] why the President’s information will

advance its consideration of the possible legislation”). The 2021 Request describes ways in which the

audit system did not function appropriately as to President Nixon, 2021 Request at 1, and the

Committee’s reasons for concluding that the system also may not have sufficient safeguards for

President Trump’s “ongoing audits, hundreds of business entities, and inordinately complex returns.”

Id. at 2. The Committee pointed to specific aspects of former President Trump’s tax profile—

including hundreds of affiliated business entities, use of a revocable trust to control those entities

while in office, and a decade-long battle over a $73 million refund—that make him unique among

Presidents in testing the resilience of the Presidential Audit Program. Id. at 4-5. The Committee also

cited specific public statements of the former President that give rise to reasonable concerns about

undue influence in the audit process. Id. at 5 (“As a Presidential candidate, he expressed his belief that

it was ‘very unfair’ that he was ‘always audited’” and “[a]larmingly, once he became President, this

sentiment was explicitly extended to the automatic, mandatory audit described in the IRM”). The

Committee also explained why alternative information, such as written materials or a briefing

pertaining to the Presidential Audit Program, would not be adequate, namely, that some practices

reflected in the IRM are outdated; that the IRM confers extensive discretion on individual auditors;

and that the Committee’s primary concern is understanding how the audit program functions in

practice, rather than on paper or in theory. See 2021 Request at 3 (“At its core, what the Committee
seeks to understand is how the IRM provisions have been applied in practice and whether IRS agents

have been able to act objectively[.]” (emphasis in original)).

        4.      The Committee’s Legislative Purpose Is Not Outweighed by Executive Branch Interests

        Finally, the fourth Mazars factor similarly weighs in favor of disclosure because the unique

circumstances of the 2021 Request present only minimal, if any, burdens on the Presidency. See

Mazars, 140 S. Ct. at 2036 (“courts should be careful to assess the burdens imposed on the President

by a” congressional inquiry). The Executive Branch is represented in this litigation by the U.S.

Department of Justice. There is no occasion for the Trump parties to assert interests on behalf of the

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Executive Branch. So it is dispositive that the Executive Branch has determined that the 2021 Request

presents no meaningful burdens on the Presidency.

        Indeed, as a general matter, the passage of section 6103(f) with the concurrence of the

President mitigates concerns about congressional aggrandizement that might otherwise exist in the

context of an informational request pursued solely through a subpoena. See 2021 OLC Op. at 23-24.

The “political branches have repeatedly determined over the course of the last century that the

congressional tax committees should have a statutorily unlimited right of access to tax information—

an authority predicated, at least in part, upon the judgment that those committees are uniquely suited

to ‘assure explicit, deliberate, and responsible congressional attention to the use made by its members

and committees of individual tax returns.’” 2021 OLC Op. at 24 (citing Confidentiality of Tax Return

Information: Hearing Before the H. Comm. on Ways and Means, 94th Cong. 154 (1976)); see also Nixon, 433

U.S. at 441 (rejecting separation-of-powers challenge to the Presidential Recordings and Materials

Preservation Act in part because the “Executive Branch became a party to the Act’s regulation when

President Ford signed the Act into law, and the administration of President Carter, acting through the

Solicitor General, vigorously supports . . . its constitutionality”). Further, President Trump is no longer

in office, thus diminishing any concerns that the 2021 Request will unduly burden Executive Branch

interests. See Nixon, 433 U.S. at 448 (“only the incumbent is charged with performance of the

executive duty under the Constitution” and therefore “a former President is in less need of
[protections] than an incumbent”).

        Nor is this a situation where Congress could exploit the threat of a post-Presidency request

for personal information to exert improper influence over a president while in office. See Mazars II,

2021 WL 3602683, at *13. The Committee here is focused primarily on the functioning of the IRS

and its audit processes under conditions of stress, not the Presidency per se. That is why the Committee

sought not only tax returns but also “[a]ll administrative files” for each requested tax return. 2021

Request at 6. Such inquiries should not be expected to require regular probing of a president’s tax

filings or audit histories because no prior president has implicated the same combination of concerns

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that animate the Committee’s inquiry here. Indeed, there is only one prior example of congressional

efforts to review a president’s tax returns—with President Nixon, fifty years ago—and in that case

President Nixon voluntarily disclosed his returns for review, consistent with the tradition of elected

presidents since, and did not oppose the release of other information under section 6103(f) when the

Joint Committee on Taxation sought to broaden the review. See 2021 OLC Op. at 33. And even if

similar concerns were to arise again in relation to a future President, the President is subject to the tax

laws, just like any other individual, and the commitment to the fair and impartial administration of the

tax laws, which both the Executive and Legislative Branches share, would justify the inquiry. The

interests of the two branches are therefore aligned in this respect.

        For all of the above reasons, each of the four Mazars factors is satisfied. Cross-Claim II should

be dismissed.

III. CROSS-CLAIM III FAILS BECAUSE SECTION 6103(F) NEITHER SUPPLIES
     A BASIS FOR CHALLENGING DISCLOSURE OF TAX INFORMATION NOR
     EXCLUDES A FORMER PRESIDENT’S INFORMATION FROM ITS SCOPE.
        In Cross-Claim III, the Trump parties purport to advance a claim against the Defendants for

“[v]iolation of § 6103(f).” Cross-Claim at 31 (III, heading). The facet of section 6103(f) at issue here

provides that the Secretary of the Treasury “shall furnish . . . any return or return information” to any

of three tax committees upon written request of the chairman of one of those committees. 26 U.S.C.

§ 6103(f)(1). Citing “the canons of statutory construction applicable to statutes that implicate the
separation of power,” the Trump parties contend that section 6103(f) “cannot be read to cover the

information of Presidents or former Presidents,” and therefore Defendants “have no authority” to

disclose tax information in response to Chairman Neal’s Request. Cross-Claim ¶¶ 75, 77. The Trump

parties are mistaken, and, for several reasons, the Court should dismiss this claim.

        As a preliminary matter, Cross-Claim III assumes that any disclosure not authorized under

section 6103(f) amounts to a “violation” of that provision, providing a legal basis on which a taxpayer

may seek to resist disclosure. Cross-Claim at 31 (III, heading). That is not so. Section 6103(f) contains

no prohibition on disclosure. Rather, it speaks only to when disclosure is mandatory, see 26 U.S.C.

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§ 6103(f), and appears alongside a dozen other provisions identifying circumstances in which

disclosure of tax information is either required or permitted. 26 U.S.C. § 6103(c)–(e), (g)–(o). Thus,

section 6103(f) cannot supply a basis on which to grant the relief against disclosure that the Trump

parties seek, and Cross-Claim III should be dismissed for that reason alone.

        Nor would Cross-Claim III have fared better had it been asserted under section 6103(a), which

prohibits disclosure of tax information except as authorized in the subsequent provisions of the

statute, including section 6103(f). See 26 U.S.C. § 6103(a). As noted above, the Trump parties’

contention that section 6103(f) does not authorize Defendants to comply with the Committee’s 2021

Request depends upon the contention that section 6103(f) does not apply to a President or former

President. See Cross-Claim ¶ 75. That argument fails, however, because the plain language of section

6103(f)(1) applies without exception to “any return or return information,” 26 U.S.C. § 6103(f)(1)

(emphasis added).

        The Trump parties’ argument to the contrary—that section 6103(f) implicitly excludes the tax

information of a President or former President—depends upon “the canons of construction

applicable to statutes that implicate the separation of power.” Cross-Claim ¶ 75; see Franklin v.

Massachusetts, 505 U.S. 788, 800-01 (1992) (finding, “[o]ut of respect for the separation of powers and

the unique constitutional position of the President . . . that textual silence is not enough to subject the

President to the provisions of the APA”); Armstrong v. Bush, 924 F.2d 282, 289 (D.C. Cir. 1991) (same).
There is no reason to import those canons of construction here.

        First, any separation-of-powers concerns that may be raised by a congressional request for a

President’s information are necessarily addressed by attention to the considerations the Supreme

Court identified in Mazars, see supra Arg. § II. Indeed, the entire purpose of the Court’s analysis was

to “take adequate account of the separation of powers principles at stake” when Congress seeks the

personal information of a sitting president, “including both the significant legislative interests of

Congress and the unique position of the President.” Mazars, 140 S. Ct. at 2035 (citation omitted).

Thus, because any separation-of-powers concerns implicated by the Committee’s request are resolved

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under the Mazars analysis discussed in Arg. § II, supra, it is not necessary to apply a specialized

construction to section 6103(f) in order to address such concerns.

        Moreover, the precedent setting forth the canon upon which the Trump parties rely makes

plain that the canon has no application to section 6103(f). In asserting that “‘textual silence’ means

that § 6103(f) cannot be read to cover the information of Presidents or former Presidents” under “the

canons of construction applicable to statutes that implicate the separation of power,” Cross-Claim

¶ 75, the Trump parties quote without citing Armstrong v. Bush, 924 F.2d at 289. There, the D.C. Circuit

addressed whether the President could be considered an “agency” subject to the APA, a result that

would have been contrary to “longstanding presidential practice,” and would have restricted and

regulated his actions as President. Id. (noting that “the President has never been thought to have to

comply with APA rulemaking procedures when issuing executive orders”). The D.C. Circuit held that

textual silence would not support such an interpretation of the statute, reasoning that “[w]hen

Congress decides purposefully to enact legislation restricting or regulating presidential action, it must

make its intent clear.” Id. During the following year, the Supreme Court, too, held that the President

cannot be considered an “agency” under the APA, reasoning “[w]e would require an express statement

by Congress before assuming it intended the President’s performance of his statutory duties to be

reviewed for abuse of discretion.” Franklin, 505 U.S. at 800-01. The concerns in Franklin and

Armstrong that caused the Supreme Court and the D.C. Circuit to require a clear statement of
congressional intent to apply a statute of general applicability to the President are not present here,

however. Section 6103(f) does not regulate “the President’s performance of his statutory duties,” id..

at 801, or “restrict[] or regulat[e] presidential action” in any way, Armstrong, 924 F.2d at 289. Indeed,

section 6103(f) does not touch on the President’s official duties at all.

        Finally, the Franklin/Armstrong canon also has no application here because the 2021 Request

seeks tax information of a former President. Indeed, even where a request for a sitting President’s

information did “implicate special concerns regarding the separation of powers,” Mazars, 140 S. Ct. at

2036, the Supreme Court concluded that those concerns did not necessarily preclude Congress from

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using its subpoena power to obtain such information. See supra Arg. § II. It would be anomalous if

the Court were to conclude now that separation-of-powers concerns altogether bar Congress from

receiving the tax information of a former President via the mandatory statutory mechanism under

section 6103(f), yet that is the result that would follow if the Court were to accept the Trump parties’

construction.

        For all these reasons, the Court should decline the Trump parties’ invitation to import the

Franklin/Armstrong canon into this setting, and it should reject their strained reading of section 6103(f).

The broad language of the statute includes a former President’s tax information, and the canons of

statutory construction supply no basis on which to depart from that plain meaning.

IV. CROSS-CLAIM IV STATES NO ACTIONABLE FIRST AMENDMENT VIOLATION.
        Cross-Claim IV asserts that by complying with the Committee’s request for production of the

Trump parties’ tax information, Defendants would be “engaging in their own unlawful discrimination

and retaliation” against President Trump, and “carrying out the Committee’s unlawful discrimination

and retaliation,” in violation of the First Amendment. Cross-Claim ¶ 88. This claim fails on both

scores. Defendants intend to comply with the Committee’s 2021 Request because section 6103(f)(1)

compels them to do so, not because of implausibly pled motives of retaliation. Nor does alleged

retaliation by the Committee based on President Trump’s policies, political beliefs, or protected

expression—which is also implausibly pled—permit the Court to impugn the Committee’s Request.

    A. Cross-Claim IV Fails To State a Claim of First Amendment Retaliation by
       Defendants, for Lack of Causation, and Otherwise
        Cross-Claim IV does not state a claim of First Amendment retaliation by Defendants. This is

principally so because section 6103(f)(1), not alleged improper motives harbored by Defendants, is

the “but for” cause of Defendants’ intended compliance with the Committee’s 2021 Request.

        “‘[A]s a general matter the First Amendment prohibits government officials from subjecting

an individual to retaliatory actions’ for engaging in protected speech.” Nieves v. Bartlett, 139 S. Ct. 1715,

1722 (2019) (quoting Hartman v. Moore, 547 U.S. 250, 256 (2006)). To state a claim for First
Amendment retaliation, a litigant must allege “(1) ‘that he engaged in protected conduct,’ (2) ‘that the
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government took some retaliatory action sufficient to deter a person of ordinary firmness in plaintiff's

position from speaking again,’ and (3) ‘that there exists a causal link’” between the two. Scahill v. Dist.

of Columbia, 909 F.3d 1177, 1185 (D.C. Cir. 2018) (quoting Doe v. Dist. of Columbia, 796 F.3d 96, 106

(D.C. Cir. 2015)). “To establish the causal link, the constitutional speech must be the but-for cause of

the retaliatory action.” Id. (citing Doe, 796 F.3d at 107).

        The Trump parties allege that the Committee’s 2021 Request “single[s] out President Trump

because he is a Republican and a political opponent,” and “w[as] made to retaliate against [him]

because of his policy positions, his political beliefs, and his protected speech.” Cross-Claim ¶¶ 83, 85.

They suggest that Defendants intend to comply with the 2021 Request because President Biden is a

Democrat. Id. ¶ 88. As discussed supra, however, Arg. §§ I and II, the Committee’s 2021 Request

seeks information related to and in furtherance of a legitimate task of Congress, Watkins, 354 U.S. at

187, while respecting “the unique position of the President,” Mazars, 140 S. Ct. at 2035. Because the

2021 Request thus constitutes a valid exercise of Congress’s investigative authority, the inflexible

statutory command of section 6103(f)(1) requires that Defendants produce the tax information that

the Committee seeks, regardless of whether or not they are motivated to do so, or why. Under the

terms of the statute, Defendants have no choice in the matter. Thus, the “but for” cause of the

intended disclosure is Defendants’ legal obligation under section 6103(f)(1) to comply with the

Committee’s lawful request. The Trump parties’ claim of retaliation must be rejected, accordingly, for
failure to establish the essential element of causation. See Hartman, 547 U.S. at 260 (“[A]ction

[allegedly] colored by some degree of bad motive does not amount to [First Amendment retaliation]

if that action would have been taken anyway.”); Daugherty v. Sheer, 891 F.3d 386, 391 (D.C. Cir. 2018)

(“‘[A]n [an allegedly] improper motive is not sufficient to establish a constitutional violation—there

must also be . . . causation[.]’”) (quoting Crawford-El v. Britton, 523 U.S. 574, 593 (1998)).

        Cross-Claim IV must also be dismissed, however, because it does not contain plausible

allegations of retaliatory motive that rise “above the speculative level.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The allegation that Defendants

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are “engaging in their own unlawful discrimination and retaliation,” Cross-Claim ¶ 88, is merely a legal

conclusion, no different than the “bare assertion” of discriminatory intent at issue in Iqbal, 556 U.S.

at 681, and, as such, is “not entitled to be assumed true,” id. The sole factual support for the Trump

parties’ claim of retaliation by Defendants is the allegation that their supposed “reversal on the legality

of Chairman Neal’s request[ ] came . . . under President Biden, a Democrat who ran against President

Trump and made the disclosure of President Trump’s tax returns a campaign issue.” Cross-Claim

¶ 87. But while the Trump parties may be prepared to ascribe “vindictive motives” to Defendants

based on nothing more than the party affiliation of the current Administration, Tenney, 341 U.S. at

378, a court may not do so.

        Simply put, the Trump parties have offered no basis on which plausibly to infer retaliatory

motive on Defendants’ part. They have observed that the former President belongs to a different

political party than the incumbent President, but differences in party membership are surely not

sufficient to create a plausible inference of ill intent. Indeed, if party membership alone supported an

inference of retaliatory purpose, then it would be equally likely that the Trump Administration acted

for improper purposes when denying the Committee’s original request, at a time when Donald Trump

was the incumbent President. See Twombly, 550 U.S. at 564-69 (no plausible inference of antitrust

conspiracy where alleged parallel conduct was just as explainable as independent competitive business

strategies). Without more than party affiliation to “nudg[e]” a claim of improper motive “across the
line from the conceivable to plausible,” Iqbal, 556 U.S. at 683, a court cannot ascribe ill intent to

representatives of one Administration, or the other. For this reason—in addition to the lack of

causation—the Trump parties have not stated a claim of First Amendment retaliation by Defendants.

    B. Assigning Implausibly Pled Motives of Retaliation to Committee Members Furnishes
       No Ground on Which to Invalidate the Committee’s 2021 Request
        The Trump parties also claim that by complying with the 2021 Request, Defendants are

“carrying out the Committee’s unlawful discrimination and retaliation” against President Trump.

Cross-Claim ¶ 88. A court, however, may not take issue with a congressional inquiry based on the
alleged motives of individual committee members, even when those motives are said to offend the
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First Amendment. In any event, the Trump parties have not plausibly alleged that the Committee’s

2021 Request is the product of retaliatory design.

        1. The Court may not scrutinize Committee members’ motives, even on First
           Amendment grounds.
        As discussed supra, Arg. § I, “[s]o long as Congress acts in pursuance of its constitutional

power,” as is the case here, “the Judiciary lacks authority to intervene on the basis of the motives

which spurred the exercise of that power.” Barenblatt, 360 U.S. at 132. “[M]otives alone would not

vitiate an investigation which had been instituted by a House of Congress if that assembly’s legislative

purpose is being served.” Watkins, 354 U.S. at 200; see also Eastland, 421 U.S. at 508 (“[I]n determining

the legitimacy of a congressional act we do not look to the motives alleged to have prompted it.”);

Wilkinson, 365 U.S. at 412 (refusing to speculate as to the motives of individual members underlying a

subcommittee’s decision to summon a witness).

        These precedents make no exception for claims that committee members acted for reasons

forbidden by the First Amendment. In Wilkinson, the petitioner was convicted for refusing to answer

questions before a subcommittee of the House Un-American Activities Committee. 365 U.S. at 401-

07. He argued that the subcommittee’s questioning violated his First Amendment rights of free

expression and association, contending that the sole reason for summoning him to testify was to harass

and persecute him as a prominent member of a public campaign to abolish the Committee. Id. at 409,

411. The Supreme Court rejected this argument. Concluding that the subcommittee convened and
conducted the hearing in pursuit of a valid legislative purpose, id. at 410-11, the Court held that “it is

not for us to speculate as to the motivations that may have prompted the decision of individual

members of the subcommittee to summon the petitioner,” id. at 412. In Watkins, the Court declined

to “test[ ] the motives of committee members” notwithstanding “an impressive array of evidence”

that “[t]he sole purpose of the [committee’s] inquiry . . . was to bring down upon [the petitioner] and

others the violence of public reaction because of their past beliefs, expressions and associations.” 354

U.S. at 199-200; see also Eastland, 421 U.S. at 505-10 (refusing to entertain arguments that an
investigation “related to and in furtherance of a legitimate task of Congress” was intended to expose
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unpopular opinions and beliefs and to chill the exercise of First Amendment freedoms). Mazars is

also instructive in this regard. There the Court acknowledged that it was not “blind” to the “intense

political” nature of the “clash” over President Trump’s financial records. 140 S. Ct. at 2034. Yet its

resolution of the dispute focused on Congress’s need for the information requested to advance its

stated legislative purpose, and the burdens imposed on the President, id. at 2035-36—neither of which

has anything to do with the subjective motives of individual legislators.

        The Committee’s 2021 Request advances a legitimate legislative inquiry and respects the

separation-of-powers principles articulated in Mazars. Once that two-fold determination is made, the

Supreme Court’s precedents leave no room for argument that a court may question the Committee’s

actions on grounds that the motives of individual members violate the First Amendment. So far as

Cross-Claim IV calls on the Court to undertake that inquiry, it must be dismissed.

        2. Cross-Claim IV does not plausibly allege retaliatory motive by the Committee

        In addition to their legal untenability, the Trump parties’ accusations of retaliation by the

Committee are deficiently pled. As noted, the Trump parties allege that the Committee’s 2021 Request

“single[s] out President Trump because he is . . . a political opponent,” and “w[as] made to retaliate

against [him] because of his policy positions, his political beliefs, and his protected speech.” Cross-

Claim ¶¶ 83, 85. At bottom, these allegations are no more than a “formulaic recitation of the elements”

of a First Amendment retaliation claim, “disentitle[d]” to the presumption of truth, Iqbal, 556 U.S. at
681, unless accompanied by other, well-pleaded facts that plausibly suggest an entitlement to relief.

        They are not. Cross-Claim IV does not identify which of former President Trump’s policy

positions, political beliefs, or protected statements supposedly provoked the Committee’s ire; offers

no detail as to their content; and does not tell us when former President Trump supposedly took these

positions, gave voice to these beliefs, or made these statements. Cross-Claim IV also fails to identify

which, or even how many, of the Committee’s two dozen Democratic members, see

https://waysandmeans.house.gov/subcommittees/ways-and-means-117th-congress,                supposedly

nurtured retaliatory intentions because of former President Trump’s unspecified positions, beliefs, and

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statements; and it advances no reason to suppose that they in fact did so other than their party

affiliation. Pleadings that leave a court “in the dark” as to who supposedly harbored retaliatory

motives, and which of former President Trump’s positions, beliefs, and statements evoked these

intentions, are too vague to construct “the requisite plausible scenario that could show [the Trump

parties are] entitled to relief.” Patton Boggs LLP v. Chevron Corp., 683 F.3d 397, 403-04 (D.C. Cir. 2012)

(citation omitted); see also Hourani v. Mirtchev, 796 F.3d 1, 11, 16 (D.C. Cir. 2015).

        But even more critically, the Trump parties’ claims of retaliatory animus are not simply

unsupported, they are contradicted by the factual matter in their pleadings. They allege a number of

statements by Speaker Pelosi, a handful of Committee members (five in all), and several other

Democratic House Members, made over a period of nearly five years, indicating that they wished to

obtain President Trump’s tax returns because of concerns about possible (i) “Russia connection[s]”;

(ii) foreign entanglements and financial conflicts of interest; (iii) Emoluments Clause violations;

(iv) tax evasion; and (v) other criminal and/or fraudulent acts committed by former President Trump

as a private citizen. Cross-Claim ¶¶ 4, 6-9, 13(d), (e), 22(b), 30-37, 40, 41, 53-55. None mentions

former President Trump’s policies or political beliefs, much less suggests that his protected expression

is the “but for” reason for seeking the Trump parties’ tax information. To the contrary, the reasons

expressed are unrelated to his political policies, statements, or beliefs. The Trump parties plead no

facts to suggest that these statements reflected anything but genuine concern over a sitting President’s
potential entanglements with hostile foreign powers, and other conflicts of interest that could affect

the performance of his duties. Far from stating a plausible claim to relief, the Trump parties have pled

themselves out of court by alleging facts that render success on their retaliation claim impossible. See

Nurriddin v. Bolden, 818 F.3d 751, 757 (D.C. Cir. 2016).

        As said in Tenney, 341 U.S. at 378, “[i]n times of political passion, dishonest or vindictive

motives are readily attributed to legislative conduct and as readily believed. Courts are not the place

for such controversies.” But even if the First Amendment provided a vehicle for conveying such



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claims into the courtroom, litigants still must arrive with sufficient facts to state a plausible entitlement

to relief. The Trump parties have not done so in Cross-Claim IV.

V. CROSS-CLAIM V DOES NOT STATE A VIABLE DUE PROCESS CLAIM.

    A. The Court Lacks Jurisdiction to Consider Cross-Claim V Because It Is Neither
       Constitutionally Nor Prudentially Ripe
         In Cross-Claim V, the Trump parties assert that because “[s]ome or all of the information

[subject to] Chairman Neal’s requests is the subject of ongoing examinations by the IRS,” Cross-Claim

¶ 90, “allowing the Committee to obtain [that information]” amounts to a violation of their due

process rights, id. ¶ 95, since “[e]ven the most scrupulous IRS officials could not help but be influenced

by the fact that congressional partisans are scrutinizing their work,” id. ¶ 93. This speculative claim

about the potential influence of congressional scrutiny on the outcome of alleged ongoing

examinations depends upon future events that may not occur as anticipated, or may not occur at all.12

Moreover, because the applicable legal framework focuses on the factors that the agency takes into

account in reaching its decisions, postponing judicial review until such decisions have actually been

rendered plainly would benefit the Court’s analysis. For these reasons, as explained below, Cross-

Claim V is not ripe.

         “[A]n Article III court cannot entertain the claims of a litigant unless they are ‘constitutionally

and prudentially ripe.’” In re Polar Bear Endangered Species Act Listing & Section 4(d) Rule Litig., 720 F.3d

354, 359 (D.C. Cir. 2013) (quoting Wyoming Outdoor Council v. U.S. Forest Serv., 165 F.3d 43, 48 (D.C.
Cir. 1999)). And, a complainant bears the burden of establishing that his claim is currently ripe for

review. See Renne v. Geary, 501 U.S. 312, 316 (1991) (“We presume that federal courts lack jurisdiction

unless the contrary appears affirmatively from the record.”) (citation omitted). The Trump parties

cannot meet this burden as to Cross-Claim V.




    12
       The discussion herein addresses the allegations of the Trump parties, and is not intended to
confirm or deny the existence of any IRS audits or the existence of any filed returns by the Trump
parties.
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        In addressing a claim of congressional interference in the administrative process—the

allegation at the heart of Cross-Claim V—“judicial evaluation of the [alleged congressional] pressure

must focus on the nexus between the pressure and the actual decision maker.” ATX, Inc. v. U.S. Dep’t

of Transp., 41 F.3d 1522, 1527 (D.C. Cir. 1994). “[T]he proper focus is not on the content of

congressional communications in the abstract, but rather upon the relation between the

communications and the adjudicator’s decisionmaking process.” Id. (citation omitted). “The test is

whether ‘extraneous factors intruded into the calculus of consideration’ of the individual

decisionmaker.” Peter Kiewit Sons’ Co. v. U.S. Army Corps of Eng’rs, 714 F.2d 163, 170 (D.C. Cir. 1983)

(quoting D.C. Fed’n of Civic Assn’ns v. Volpe, 459 F.2d 1231, 1246 (D.C. Cir. 1972)); ATX, Inc., 41 F.3d

at 1528 (“We are concerned when congressional influence shapes the agency’s determination of the

merits”).

        Here, the Trump parties aver that the alleged IRS examinations that are the subject of Cross-

Claim V remain “ongoing.” Cross-Claim ¶¶ 90, 95. Thus, according to their allegations, see id., there

are, as yet, no decisions the Court could examine to determine whether extraneous factors interfered

to such an extent that relief is warranted. Indeed, even after any alleged initial audit process was

complete, the IRS would be required to issue a notice of deficiency, if any, and the taxpayer would

have the opportunity to obtain judicial review, either by petitioning the Tax Court prior to paying any

deficiency, or paying any deficiency and seeking review in district court or the Court of Federal Claims.
See 26 U.S.C. §§ 6211–13; 28 U.S.C. § 1346(a)(1); 26 U.S.C. §§ 6532(a), 7422(a).

        Constitutional ripeness “originat[es] in the case-or-controversy requirement of Article III” and

requires that a claim not be “dependent on ‘contingent future events that may not occur as anticipated,

or indeed may not occur at all.” Trump, 141 S. Ct. at 535 (quoting Texas v. United States, 523 U.S. 296,

300 (1998)). Here, although the Trump parties assert that IRS officials “could not help but be

influenced” by Congress’s scrutiny of their work, Cross-Claim ¶ 93, the Trump parties can only

speculate as to the outcomes of any alleged ongoing IRS examinations, and whether congressional

scrutiny ultimately would play any role at all in those outcomes. Moreover, it is speculation again to

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suppose—if there were a decision resulting from the ongoing examinations into which “extraneous

factors intruded,” Peter Kiewit Sons’ Co., 714 F.2d at 170—that such a decision would withstand the

judicial review to which the Trump parties would be entitled. See supra (describing process available

to a taxpayer upon completion of an examination). For all these reasons, the Trump parties cannot

demonstrate that their due process claim is constitutionally ripe.

        Nor can the Trump parties demonstrate prudential ripeness, which requires a court to balance

“the fitness of the issues for judicial decision and the hardship to the parties of withholding

consideration.” Texas, 523 U.S. at 301 (quoting Abbot Labs. v. Gardner, 387 U.S. 136, 149 (1967)). The

“fitness for review” inquiry encompasses considerations similar to those discussed above, and

includes, inter alia, the Court’s “interest in avoiding unnecessary adjudication and in deciding issues in

a concrete setting.” AT&T Corp. v. Fed. Commc’ns Comm’n, 349 F.3d 692, 699 (D.C. Cir. 2003). Under

the second or “hardship” prong of the prudential ripeness inquiry, the courts consider the claimant’s

“interest in immediate review.” Id. at 700.

        In this case, awaiting the completion of any applicable process—the alleged ongoing IRS

audits, see Cross-Claim ¶¶ 90, 95, and any related proceedings on judicial review—would ensure that

the Court avoided “unnecessary adjudication.” AT&T Corp., 349 F. 3d at 699. And, if adjudication

proved necessary after all, postponing review would significantly advance the court’s ability to deal

with the legal issues presented. Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 812 (2003).
Indeed, without awaiting completion of any alleged ongoing IRS audits, see Cross-Claim ¶¶ 90, 95, it

is difficult to discern how the Court could conduct the analysis required under the applicable

framework at all, since that framework expressly excludes any “abstract” inquiry and requires a court

to delve into the considerations that actually affected an agency decision. See supra at 39. Against

these strong reasons for declining to hear the claim now, the Trump parties can point to no undue

hardship to them that would result from postponing judicial review pending the results of any alleged

ongoing IRS examinations, see Cross-Claim ¶¶ 90, 95. As explained above, the IRS can take no action

to collect deficiencies (if any) identified during those examinations until the examinations are

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completed and the taxpayer has an opportunity to be heard in court. Accordingly, there is no

“immediate and practical” hardship to the Trump parties that can “outweigh[] the competing

institutional interest in deferring review.” Askins v. Dist. of Columbia, 877 F.2d 94, 98 (D.C. Cir. 1989).

         For all these reasons, Cross-Claim V is not ripe, and should be dismissed for lack of

jurisdiction.

    B. Cross-Claim V Also Fails Because Precedent Establishes that Congress May Lawfully
       Examine—and Even Hold Hearings on—the Same Information as that at Issue in an
       Ongoing Administrative Matter.
         The Court also should dismiss Cross-Claim V because “allowing [a congressional] Committee

to obtain files that are the subject of ongoing examinations,” Cross-Claim ¶ 95, does not approach the

conduct that could give rise to a violation of due process-rights.

         The Trump parties premise their claim on the contention that “IRS examinations are trial-like

adjudications.” Id. ¶ 91. That is not so,13 but, even in quasi-judicial proceedings, Congress may lawfully

examine the same information at issue in an ongoing administrative matter without violating the due-

process rights of the subject of that administrative matter. “Congressional hearings are not inherently

improper whenever their inquiry touches on or arises from a pending administrative matter. Such

hearings, even if contemporaneous with an administrative proceeding, are not unusual.” Schaghticoke

Tribal Nation v. Kempthorne, 587 F. Supp. 2d 389, 410 (D. Conn. 2008) (citing ATX, Inc., 41 F.3d at

1527–28). Indeed, with respect to IRS investigations in particular, the IRM specifically provides that
the IRS may disclose to congressional committees materials that relate to an active IRS matter. See

infra at 44 (discussing IRM § 11.3.4.4(13)).

         Moreover, the D.C. Circuit has “never questioned the authority of congressional

representatives to exert pressure.” ATX, Inc., 41 F.3d at 1528 (citing Volpe, 459 F.2d at 1249). Thus,

“congressional actions not targeted directly at the decision makers—such as contemporaneous

hearings—do not invalidate an agency decision.” Id. (citing Koniag, Inc. v. Andrys, 580 F.2d 601, 610

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      The “trial-like” facet of the process follows after completion of an examination if a deficiency
is identified; in that case, the IRS must issue a notice of deficiency, and the taxpayer has the
opportunity either to petition the Tax Court or pay any assessment, file a refund claim, and file a
refund action, if still necessary, before the district court or Court of Federal Claims. See supra.
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(D.C. Cir. 1978)). This is so even where members of Congress openly express views on the merits of

a pending matter. See, e.g., Koniag, 580 F.2d at 610.

        Pillsbury Co. v. FTC, 354 F.2d 952, 964 (5th Cir 1966), the case on which the Trump parties

rely, Cross-Claim ¶ 92, demonstrates the kind of “congressional interference,” id. ¶ 91, that constitutes

a violation of due process: there, the Fifth Circuit “found an impermissible influence stemming from

a congressional hearing during which the Chairman of the Federal Trade Commission was subjected

to ‘a searching examination as to how and why he reached his decision in a case still pending before

him, and [criticism] for reaching the ‘wrong’ decision.’” ATX, Inc., 41 F.3d at 1529 (quoting Pillsbury,

354 F.2d at 964). The D.C. Circuit distinguished Pillsbury from situations in which congressional

hearings did not include appearances by any of the agency decisionmakers. Koniag, 580 F.2d at 610

(“we think the Pillsbury decision is not controlling here because none of the persons called before the

subcommittee was a decisionmaker in these cases”); see also ATX, Inc., 41 F.3d at 1529.

        As explained, even contemporaneous congressional hearings regarding the subject matter of

an administrative proceeding comport with due process so long as they do not involve the personal

appearance of an agency decisionmaker. A fortiori then, “allowing the Committee to obtain files that

are the subject of [alleged] ongoing examinations,” Cross-Claim ¶ 95, cannot amount to a violation of

the Trump parties’ due-process rights.

VI.     CROSS-CLAIM VI IS UNRIPE AND FAILS TO STATE A SEPARATION OF
        POWERS CLAIM.
        The Trump parties’ sixth and final claim alleges that Defendants are violating separation-of

powers principles by giving the Committee access to files that are the subject of an alleged ongoing

IRS examination. See Cross-Claim ¶ 102. This claim must be dismissed for at least two key reasons.

        First, as with Cross-Claim V, Cross-Claim VI is unripe because it depends “on contingent

future events that may not occur as anticipated, or indeed may not occur at all.” See Trump, 141 S. Ct.

at 535 (quoting Texas, 523 U.S. at 300). Specifically, the implicit injury on which this claim rests is the

assumption that, if given access to the requested materials, the Committee will use those materials to
interfere with the alleged IRS audit to the detriment of the Trump parties. See Cross-Claim ¶¶ 100-
                                                  42
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02. This is not only speculative but is contrary to the four corners of the 2021 Request, which convey

the Committee’s intent to safeguard the presidential audit process from political pressures and to

“ensur[e] that the tax laws are administered fully and fairly.” See 2021 Request at 2. Accordingly,

Cross-Claim VI is unripe and should be dismissed.

        Second, Cross-Claim VI fails on the merits. The cornerstone of this claim is the erroneous

assertion that separation-of-powers principles prohibit the Executive from sharing information with

Congress any time the information is the subject of or arises from an ongoing administrative matter—

in this case, allegedly, an IRS audit. That conclusion, besides being legally incorrect under the

standards discussed above, see supra Arg. §§ I & II, is proven false by the Trump parties’ own cited

authority.

        For starters, while congressional requests for the type of information at issue here may implicate

separation-of-powers concerns, those concerns do not categorically bar disclosure in every case. See,

e.g., Schaghticoke Tribal Nation, 587 F. Supp. 2d at 410 (“Congressional hearings are not inherently

improper whenever their inquiry touches on or arises from a pending administrative matter.”) (citing

ATX, Inc., 41 F.3d at 1527-28). In this case, as discussed in detail above, disclosure is proper because

section 6103(f) requires it, and because the Committee has asserted valid legislative purposes and its

request comports with Mazars, 140 S. Ct. at 2036 (assuming a Mazars-type analysis applies here in the

first place). See supra Arg. § II.
        The Trump parties’ citations to portions of OLC opinions, which discuss circumstances in

which a President may assert executive privilege, do not bear on the request at issue. See Cross-Claim

¶ 99 (citing 10 Op. O.L.C. 68, 76 (1986)), ¶ 100 (citing 5 Op. O.L.C. 27, 31 (1981)). In the cited 1981

opinion, for instance, the Department of Justice recommended asserting executive privilege over

certain materials after concluding that disclosure “would seriously interfere with or impede the

deliberative process of government and, in some cases, the Nation’s conduct of its foreign policy.”

Id. at 29. The opinion further noted that Congress had not sufficiently articulated its stated purposes

for requesting the information. See id. at 32 (stating that Congress “has never formally stated its need

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for the materials beyond a generalized interest in ‘oversight’”). Here, by contrast, there has been no

assertion of executive privilege, and thus the President has not determined that the potential dangers

of “provid[ing] committees of Congress with access to, or copies of, open law enforcement files”

justify withholding the requested information. See 10 Op. O.L.C. 68, 75-76 (1981).

        Next, the Trump parties allege that the Executive Branch has “long refused” to provide open

law-enforcement files to Congress. See Cross Claim ¶ 99 (citing 10 Op. O.L.C. at 76). But none of

their cited authority states that the Executive must do so; to the contrary, in one of the cited OLC

opinions, the Department of the Interior released “a large number of the materials” requested by

Congress while Interior’s decisionmaking process was ongoing. See 5 Op. O.L.C. at 28. More than

that, here the IRM expressly contemplates that the IRS may disclose to congressional committees

materials that relate to an active IRS matter. See IRM § 11.3.4.4(13) (allowing IRS to disclose to

Congress “[r]ecords relating to cases that are under active investigation” if disclosure will not have a

“serious adverse effect on the administration of the tax laws”). All of this together demonstrates the

implausibility of the Trump parties’ allegations in Cross-Claim VI.

    Finally, any separation-of-powers concerns presented in Cross-Claim VI are substantially

diminished in light of section 6103(f). That provision embodies the “long-standing judgment of the

political branches” that the congressional “tax committees are best situated to determine when

Congress ought to have access to tax information.” See 2021 Op. O.L.C. at 19. To conclude that the
separation-of-powers doctrine prevents the Executive from sharing that information with Congress

during an IRS audit would be at loggerheads with section 6103(f) and the inter-branch agreement that

brought the law into existence in the first place. See, e.g., INS v. Chadha, 462 U.S. 919, 949 (1983)

(bicameralism and presentment demonstrate that a law “has been fully considered by the Nation’s

elected officials.”); Nixon v. GSA, 433 U.S. at 441 (“The Executive Branch became a party to the Act’s

regulation when President Ford signed the Act into law.”); id. at 444-45 (noting “abundant statutory

precedent for the regulation and mandatory disclosure of documents in the possession of the



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Executive Branch,” subject to “applicable privilege inherent in that branch,” and citing, among other

examples, 26 U.S.C. § 6103).

       For these reasons, Cross-Claim VI is unripe, and fails to state a claim upon which relief may

be granted. It should therefore be dismissed.

                                                CONCLUSION

       For the foregoing reasons, the Trump parties’ claims against Defendants should be dismissed.



Dated: September 9, 2021                               Respectfully submitted,

                                                       BRIAN D. NETTER
                                                       Deputy Assistant Attorney General

                                                       JOHN R. GRIFFITHS
                                                       Director

                                                       ELIZABETH J. SHAPIRO
                                                       Deputy Director


                                                        /s/ James J. Gilligan
                                                       JAMES J. GILLIGAN
                                                       Special Litigation Counsel

                                                       SERENA M. ORLOFF
                                                       STEVEN A. MYERS
                                                       CRISTEN C. HANDLEY
                                                       JULIA A. HEIMAN
                                                       Attorneys
                                                       U.S. Department of Justice
                                                       Civil Division, Federal Programs Branch
                                                       P.O. Box 883
                                                       Washington, D.C. 20044
                                                       Telephone:      (202) 514-3358
                                                       Fax:            (202) 616-8470
                                                       E-mail:         james.gilligan@usdoj.gov

                                                       Counsel for Defendants, Cross-Defendants




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